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                 DOORDASH, INC. and GRUBHUB INC.
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         12                          IN THE UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
         13

         14
                 DOORDASH, INC. and GRUBHUB INC.,             CASE NO. 3:21-CV-05502-EMC
         15
                                                              STIPULATION AND [PROPOSED] ORDER
         16                      Plaintiffs,                  TO CONTINUE CASE MANAGEMENT
         17           v.                                      CONFERENCE
                 CITY AND COUNTY OF SAN FRANCISCO,
         18                                                   Hon. Edward M. Chen
                                 Defendant.
         19                                                   Action Filed: July 16, 2021
                                                              FAC Filed: Oct. 1, 2021
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Gibson, Dunn &
Crutcher LLP
                           STIPULATION AND PROPOSED ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
         30                                        CASE NO. 3:21-CV-05502-EMC

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           1            Plaintiffs DoorDash and Grubhub and Defendant City and County of San Francisco, pursuant

           2     to Civil L.R. 16-2 (e), by and through respective counsel, hereby stipulate as follows:

           3            WHEREAS, on October 15, 2021, Defendant filed a motion to dismiss the First Amended

           4     Complaint (ECF No. 28);

           5            WHEREAS, on October 15, 2021, the Court scheduled a case management conference for

           6     February 8, 2022 (ECF Nos. 27, 32);

           7            WHEREAS, on December 16, 2021, this Court held a hearing on Defendant’s motion to

           8     dismiss and took the motion under submission (ECF No. 51);

           9             WHEREAS, on January 25, 2022, the Court approved the parties’ stipulation to continue the

         10      case management conference to April 12, 2022 (ECF No. 56);

         11             WHEREAS, Plaintiffs and Defendant have met and conferred regarding the upcoming case

         12      management conference, currently scheduled for April 12, 2022, and believe it would save judicial

         13      and party resources to continue the case management conference until after the Court’s ruling on the

         14      pending motion to dismiss;

         15             NOW, THEREFORE, the parties hereby request that the Court continue the case management

         16      conference to May 24, 2022, or to such later date as will afford the Court sufficient time to issue a

         17      ruling on the motion to dismiss. Dates and deadlines tied to the case management conference shall

         18      also be extended accordingly.

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                 Dated: March 18, 2022
         22                                                    DAVID CHIU
         23                                                    City Attorney
                                                               WAYNE K. SNODGRASS
         24                                                    JEREMY M. GOLDMAN
                                                               Deputy City Attorneys
         25
                                                               By: /s/Jeremy M. Goldman
         26
         27                                                    Jeremy M. Goldman
                                                               Attorneys for Defendant
         28                                                    CITY AND COUNTY OF SAN FRANCISCO

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                            STIPULATION AND PROPOSED ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
         30                                         CASE NO. 3:21-CV-05502-EMC

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           1     Dated: March 18, 2022
                                                                GIBSON, DUNN & CRUTCHER LLP
           2

           3                                                    By: /s/ Joshua S. Lipshutz

           4                                                    Joshua S. Lipshutz
                                                                Michael Holecek
           5                                                    Attorneys for Plaintiffs
                                                                DOORDASH, INC. and GRUBHUB INC.
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           8                                           ATTESTATION CLAUSE

           9     Pursuant to Civil Local Rule 5-1(h)(3), I hereby certify that I obtained in the filing of this
                 document the concurrence from all parties whose electronic signatures appear above.
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         11      Dated: March 18, 2022

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                                                                /s/ Joshua S. Lipshutz
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         30                                          CASE NO. 3:21-CV-05502-EMC

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           1                                              Proposed Order
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                 PURSUANT TO THE PARTIES’ STIPULATION:
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                        The Rule 26(f) Initial Case Management Conference pursuant to L.R. 16.2(a) is continued to
           4
                 _______________; and the related dates and deadlines shall also be extended accordingly.
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                 IT IS SO ORDERED.
           7
                 DATED: March ___, 2022
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                                                                   ______________________________
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                                                                   Judge Edward M. Chen
         11                                                        United States District Judge

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         30                                         CASE NO. 3:21-CV-05502-EMC

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